              Case
               Case2:17-cv-02000-APG-GWF
                    2:17-cv-02000-APG-GWF Document
                                           Document85-1
                                                    86 Filed
                                                        Filed09/29/17
                                                              09/26/17 Page
                                                                        Page11ofof23



 1

 2                                 UNITED STATES DISTRICT COURT

 3                                        DISTRICT OF NEVADA

 4   FEDERAL TRADE COMMISSION,                        )
     Plaintiff,                                       )       Case No: 17-cv-02000-APG-GWF
 5                                                    )
     v.                                               )
 6                                                    )
     REVMOUNTAIN, LLC, a Nevada limited               )       [Proposed] STIPULATED ORDER TO
 7   liability company, et al.,                       )       RELEASE FUNDS FOR DEFENDANT
                                                      )       BLAIR MCNEA’S LIVING EXPENSES
 8                              Defendants.           )

 9
               Plaintiff, the Federal Trade Commission (“FTC”), and Defendant Blair McNea have
10
     jointly moved for entry of this Order releasing funds from the asset freeze ordered in the
11
     Preliminary Injunction in this matter. The Court finds good cause for a limited release of funds
12
     to meet Defendant McNea’s living expenses for a four-month period while he seeks
13
     employment. The parties have stipulated that Defendant McNea reserves the right to make
14
     further requests for a release of funds at the end of the four-month period, measured from the
15
     date this Order is entered, and that the FTC reserves the right to oppose any such request. The
16
     Court therefore orders as follows:
17
               IT IS ORDERED that financial institutions holding the frozen assets of Defendant
18
     McNea shall immediately release a total of $27,121.16 to Defendant McNea as follows:
19
              $17,320.30 (all funds in the account) from the frozen account ending in -8650 at
20
               FirstBank; and
21
              $9,800.86 (the $27,121.16 total minus amounts released from Firstbank) from the frozen
22
               brokerage account ending in -4791 at Shareholder Services Netxinvestors.
23
               IT IS FURTHER ORDERED that Defendant McNea is to use the released funds to pay
24
     four months’ mortgage payments on his primary residence, for payments of $6,780.29 monthly
25
     to Wells Fargo Bank, N.A.
26

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           Case2:17-cv-02000-APG-GWF
                2:17-cv-02000-APG-GWF Document
                                       Document85-1
                                                86 Filed
                                                    Filed09/29/17
                                                          09/26/17 Page
                                                                    Page22ofof23



 1          IT IS FURTHER ORDERED that Shareholder Services Netxinvestors shall release funds

 2   from the frozen brokerage account ending in -4791 sufficient to make four months’ property tax

 3   payments on Defendant McNea’s primary residence, upon receipt of written instruction from the

 4   FTC regarding the amount to be released. Defendant McNea estimates that his property tax costs

 5   are $1,228.75 per month, and he shall provide adequate documentation of his property tax

 6   amount to the FTC as soon as possible. Shareholder Services Netxinvestors shall not release

 7   funds for payment of property taxes until it receives written confirmation from the FTC of the

 8   amount to be released.

 9
            SO STIPULATED:
10

11          FOR THE PLAINTIFF FEDERAL TRADE COMMISSION:

12          /s/ Michelle Schaefer
            SARAH WALDROP
13          MICHELLE SCHAEFER
            600 Pennsylvania Avenue, NW CC-9528
14          Washington, DC 20580
15          Tel. 202-326-3444, -3515
            swaldrop@ftc.gov, mschaefer@ftc.gov
16

17          FOR DEFENDANT BLAIR MCNEA:
18          /s/ Giovanni Ruscitti
19          Giovanni Ruscitti
            Berg Hill Greenleaf Ruscitti LLP
20          1712 Pearl Street
            Boulder, CO 80302
21          303-402-1600
            giovanni.ruscitti@bhgrlaw.com
22
            Claude Wild                            IT IS SO ORDERED.
23
            Claude Wild Law
24          9247 Mornington Way
            Lone Tree, CO 80124                    __________________________________
25          303-916-9082                           UNITED STATES DISTRICT JUDGE
            cwild@claudewildlaw.com                Dated: September 29, 2017.
26

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